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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEBRASKA

In re: ALDEN H ZUHLKE,
       LISA A ZUHLKE                                           CASE NO. BK24-40267
             Debtor(s).                                             Chapter 7

                 MOTION TO WITHDRAW AS ATTORNEY FOR DEBTOR
       COMES NOW, John A. Lentz, and moves the Court to enter an order permitting him to
withdraw as attorney for the debtor. In support thereof, the undersigned shows to the Court the
following:

       1.      There has been a breakdown in the attorney/client relationship.
       2.      The undersigned and Debtor have material differences as to aims and course of
               representation.
       3.      This request is made pursuant to Neb. Ct. R. Prof. Cond. §3-501.16.

       WHEREFORE, John A. Lentz prays for an Order of this Court allowing him to withdraw as
attorney for the Debtor.
                                                /s/ John A. Lentz
                                               John A. Lentz, #24420
                                               Lepant & Lentz, PC, LLO
                                               601 Old Cheney Rd., STE B
                                               Lincoln, NE 68512
                                               402-421-9676
                                               john@lepantandlentz.com

                                NOTICE OF RESISTANCE DATE
        YOU AND EACH OF YOU ARE HEREBY NOTIFIED, pursuant to Neb. R. Bankr. P.
9013, that on July 25, 2024, the undersigned filed Motion to Withdraw as Debtor’s Attorney in the
above-entitled case in the office of the Clerk of the U.S. Bankruptcy Court. Any resistance or
request for hearing on said Application must be filed and served by August 15, 2024 Pursuant to
Local Rule 9013, any resistance or objection to said Application shall set forth the specific factual
and legal basis for the objection/resistance and conclude with a particular request for relief. If the
resistance period expires without the filing of any resistance or request for hearing, the Court will
enter an order granting the Application without further hearing. If a timely resistance or request for
hearing is filed and served, the clerk shall schedule a hearing.

                                      PROOF OF SERVICE
       I do hereby certify that a copy of the attached was served by mailing copies of same, by first
class United States mail, postage prepaid, this 25th day of July, 2024, to:

ALL CREDITORS LISTED ON THE CURRENT MATRIX AS LISTED ON THE ATTACHED
MATRIX

***The undersigned relies on the ECF system to provide notice to the Office of the United States
Trustee***


                                                               /s/ John A. Lentz
                                                              John A. Lentz
